     Case 3:13-cv-01132-RNC    Document 996   Filed 05/19/17 Page 1 of 81
                                                           Page 1


1                             UNITED STATES DISTRICT COURT

2                         FOR THE DISTRICT OF CONNECTICUT

3

4         - - - - - - - - - - - - - - - - x
                                          :
5         GERVIL ST. LOUIS,               :         No. 3:13CV1132(RNC)
                            Plaintiff,    :
6                                         :
                     vs                   :
7                                         :
          DOUGLAS PERLITZ, ET AL,         :
8                           Defendants.   :         APRIL 19, 2017
          - - - - - - - - - - - - - - - - x
9

10

11                                   ORAL ARGUMENT

12

13

14              BEFORE:   HON. ROBERT N. CHATIGNY, U.S.D.J.

15

16

17

18

19                                              Darlene A. Warner, RDR-CRR
                                                Official Court Reporter
20

21

22

23

24

25
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 2 of 81
                                                          Page 2


1

2

3         APPEARANCES:

4

5               FOR GERVIL ST. LOUIS:

6                      SIMMONS HANLY CONROY, LLP
                            112 Madison Avenue; 7th Floor
7                           New York, New York 10016
                       BY: PAUL J. HANLY, JR., ESQ.
8                           JAYNE CONROY, ESQ.
                            ANDREA BIERSTEIN, ESQ.
9                           ELLYN HURD, ESQ.

10                     LAW OFFICES OF MITCHELL GARABEDIAN
                            100 State Street
11                          6th Floor
                            Boston, Massachusetts 02109
12                     BY: MITCHELL GARABEDIAN, ESQ.
                            WILLIAM H. GORDON, ESQ.
13                          LU XIA, ESQ.

14              FOR FAIRFIELD UNIVERSITY:

15                     DAY PITNEY LLP-STMFD
                            One Canterbury Green
16                          Stamford, Connecticut 06901
                       BY: THOMAS D. GOLDBERG, ESQ.
17                          KEVIN C. BROWN, ESQ.

18              FOR HOPE E. CARTER:

19                     MILANO & WANAT
                            471 East Main Street
20                          Branford, Connecticut 06405
                       BY: JEFFREY WILLIAM KENNEDY, ESQ.
21

22              FOR PAUL E. CARRIER:

23                     MURPHY & KING, PC
                            One Beacon Street
24                          21st Floor
                            Boston, Massachusetts 02108
25                     BY: THEODORE J. FOLKMAN, ESQ.
                            TIMOTHY P. O'NEILL, ESQ.
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 3 of 81
                                                          Page 3


1               FOR SOVEREIGN MILITARY HOSPITALLER ORDER OF

2                    ST. JOHN OF JERUSALEM OF RHODES AND OF
                     MALTA, AMERICAN ASSOCIATION, U.S.A.:
3
                       ROBINSON & COLE
4                           280 Trumbull Street
                            Hartford, Connecticut 06103
5                      BY: BRADFORD S. BABBITT, ESQ.

6               FOR SOCIETY OF JESUS OF NEW ENGLAND:

7                      SLOANE & WALSH, LLP
                            Three Center Plaza
8                           Boston, Massachusetts 02108
                       BY: MICHAEL J. KERRIGAN, ESQ.
9                           WILLIAM J. DAILY, JR., ESQ.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 4 of 81
                                                          Page 4


1                                     2:10 P.M.

2

3                     THE COURT:    Good afternoon.     Our plan for today

4         is to address the motions submitted by Father Carrier and

5         Ms. Carter, okay?

6                     MR. FOLKMAN:    Yes, Your Honor.

7                     THE COURT:    Are you all set to proceed?

8                     MR. FOLKMAN:    Yes, thank you, Your Honor.

9                     Good afternoon, Ted Folkman for Father Carrier.

10                    Thank you, Your Honor, for the amount of time

11        you've devoted to these hearings and also to allowing us

12        to brief the issues as exhaustively as we have.

13                    I want to start by addressing some issues you've

14        heard a lot about and read a lot about, but that you can

15        and should put to the side when you're considering Father

16        Carrier's motion.

17                    For purposes of our motion, you don't have to

18        decide whether Father Carrier used due care in all his

19        dealings with PPT or these plaintiffs.         In fact, it's okay

20        for purposes of our motion if you assume that he did not

21        use due care because the gist of the motion is that even

22        if he did -- even if he was careless, nevertheless, he's

23        not liable.

24                    Similarly, you don't have to decide whether you

25        think Father Carrier is a person of good character or
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 5 of 81
                                                          Page 5


1         whether you believe the accusations that various folks

2         have made about him.

3                     There's two kinds of accusations, the first

4         kind, the most salacious kind, I think are potentially

5         relevant to some aspects of this case, and I'm referring

6         now to the claim that Father Carrier had a sexual

7         relationship with Mr. Perlitz, and I'm referring to the

8         claim Father Carrier sexually abused one of the

9         plaintiffs, Bernard Michel, who is not one of the four

10        bellwether plaintiffs.

11                    I think we've demonstrated conclusively in our

12        papers that as to those two claims, there is no admissible

13        evidence that they're true.        I don't think that either

14        claim is really particularly relevant to the issues you're

15        going to have to consider on this motion.          Nevertheless,

16        we've spent a fair amount of time demonstrating that they

17        aren't supported by evidence.

18                    Now, there's another kind of accusation, a kind

19        that is supported by some evidence, although we say are

20        not true, these are accusations made by people in Father

21        Carrier's past arising out of his time in Fairfield, his

22        time at Boston College, his lifetime as a member of the

23        Society of Jesus.

24                    As to those sorts of allegations, they may or

25        may not be relevant to the claims against those who are
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 6 of 81
                                                          Page 6


1         said to have a duty of some kind to supervise or to manage

2         Father Carrier.     But I trust that for obvious reasons,

3         it's understood that they're not admissible to prove that

4         Father Carrier was careless, which is the claim in this

5         case, or that he breached his fiduciary duty to these four

6         boys, which is again the claim in this case.

7                     So you can set to the side the question of

8         whether Father Carrier exercised due care and you can set

9         to the side these questions in the case about his

10        character and about prior bad acts, because neither really

11        has anything to do with the motion that we're presenting.

12        We think there are four questions that you have to answer.

13        Two of them relate to the remaining statutory count, two

14        of them to the non-statutory counts.

15                    On the statutory count:      Does Section 2255 show

16        Congress's unmistakable intent that the statute should

17        apply extraterritorially?      We say the answer is no.

18                    Question number two:     Is there any evidence of a

19        causal link between any travel that Mr. Perlitz took from

20        the United States to Haiti that Father Carrier facilitated

21        and that is somehow causally related to the injuries these

22        plaintiffs claim to have suffered?        We say no.

23                    On the non-statutory claims, the first question,

24        the big question:     Does Haitian law govern those claims?

25                    Now, I understand that we're the only party that
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 7 of 81
                                                          Page 7


1         has raised this issue, and each of the defendants and the

2         plaintiffs have their own reasons for the strategies

3         they've adopted.     I think you'll see in our papers and I

4         think you'll hear today that if you actually do the

5         analysis, the restatement analysis, the answer is clearly

6         and obviously yes.

7                     Finally, question four:      Assuming Haitian law

8         applies, was Father Carrier the agent of the Haiti Fund?

9         We'd say yes.

10                    Was he the principal of Mr. Perlitz?         We say no.

11                    If you find for our favor on either of those

12        questions, the non-statutory count has to fail.

13                    I'd like to start with a very small set of

14        undisputed facts.     I count four facts, and maybe a couple

15        of subsidiary facts that we think are the critical facts

16        for this motion.     Our statement of facts was maybe a

17        little longer than it should have been, partly because we

18        addressed some issues such as the claim that Father

19        Carrier somehow took money that he wasn't entitled to

20        take.   That turned out not really to be relevant to the

21        motion.    But these are the facts, I think, that if you

22        find in our favor, the motion is going to be granted.

23                    On the statutory count, there is follows:

24                    First, it's not really disputed that the

25        plaintiffs can only prove one date of travel that
     Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 8 of 81
                                                          Page 8


1         Mr. Perlitz took from the United States to Haiti.           We make

2         this point at our main brief, page 10, and it's not

3         rebutted.    That date is a date in June of 2005.         It's the

4         date Mr. Perlitz testified he traveled.         I don't know that

5         that's true, but there's evidence that it happened.

6                     That's fact one.

7                     Fact two, none of these plaintiffs, with one

8         exception that I'll mention in a moment, can prove the

9         dates on which they say they were abused to anything

10        closer than approximately a year.        That's paragraphs 9

11        through 12 of our statement of undisputed facts.

12                    The exception is Mr. Lacenat.       He claims that on

13        one of the two instances of abuse, he can localize that in

14        time to a period of a few weeks, but that period of two

15        weeks is not closely related in time to the date of

16        travel.    It's approximately a year away.

17                    Those are really the only facts that we think

18        are material to the issue of causation on our statutory

19        claim.    And if you find that those facts are true, we

20        believe that there's just a failure of proof on the

21        element of causation.

22                    What about the non-statutory claims?         Again it's

23        just a handful of facts.

24                    The first one, we say Father Carrier was the

25        Haiti Fund's agent.     Now, when I say that, it's not just
     Case 3:13-cv-01132-RNC    Document 996   Filed 05/19/17 Page 9 of 81
                                                           Page 9


1         me saying it.       I want to cite for you a few paragraphs of

2         the complaint.       This is the plaintiffs' case.

3                     Paragraph 55, "As the chairman and the president

4         of the Haiti Fund, Father Carrier was obliged to supervise

5         and monitor the program at PPT."

6                     Paragraph 93, "Father Carrier acted as the eyes

7         and ears of the Haiti Fund in Haiti."

8                     Paragraph 128, "At all relevant times, the

9         responsibilities of the Haiti Fund included the hiring,

10        retention, direction and supervision of Father Carrier."

11                    Paragraph 132, "At all relevant times, the

12        supervisory defendants, which includes the Haiti Fund,

13        negligently breached their duty by hiring and retaining

14        Father Carrier."

15                    So it's perfectly clear from the complaint

16        itself that the plaintiffs' case is based on the notion

17        that Father Carrier was the Haiti Fund's agent.            That's

18        enough for us to prove that that's not a disputed fact.

19                    Now, I would cite for you on that point the

20        Celtex case, which is as you know one of the Supreme

21        Court's leading summary judgment cases, and it makes the

22        point you're entitled to rely on the allegations of the

23        complaint in the opposing motion for summary judgment.

24                    Now, Your Honor raised a point with Mr. Goldberg

25        on the first day of argument that I think is important.
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 10 of 81
                                                      Page 10


1      You raised the point about what about the early period,

2      the period from 1997 to 1999?       If you recall the school

3      was founded 1997, the Haiti Fund was not incorporated

4      until 1999.    You put the question to Mr. Goldberg:         "How

5      can Fairfield look to the Haiti Fund as the responsible

6      party when it wasn't even in existence for at least some

7      period of time at the beginning?"       I think there's a lot

8      of ways to answer that, Your Honor.

9                 You could just point to the gap in time.

10     There's various ways you could answer it.

11                But Father Carrier has an answer that might be a

12     little bit different than any of the defendants' answers,

13     and it's this:

14                The allegations the complaint that I just read

15     you a moment ago, they don't just talk about the Haiti

16     Fund, they talk about Fairfield too, and in some instances

17     the other institutional defendants.

18                Paragraph 55, "As director of campus ministry

19     and community service at Fairfield, Father Carrier was

20     obliged to supervise and monitor PPT."

21                Paragraph 93, "Father Carrier acted as the eyes

22     and ears of Fairfield, of the New England Jesuit Order and

23     of the Order of Malta in Haiti."

24                Paragraph 128, "At all relevant times, the

25     responsibilities of Fairfield, the Jesuits included the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 11 of 81
                                                      Page 11


1      hiring, retention, direction and supervision of Father

2      Carrier."

3                  So if the issue is what about that initial

4      period of time, we would make for you exactly the same

5      case that we made with respect to the Haiti Fund.           And you

6      won't hear the plaintiffs say, oh, we dispute that, we

7      dispute that Father Carrier was the agent of Fairfield or

8      we dispute that he was the agent of Jesuits, because as

9      you've heard over two days, that's their case.          So those

10     are undisputed facts for purposes of this motion.

11                 Another undisputed fact, if anybody was

12     Mr. Perlitz's employer, it was the Haiti Fund.          That's

13     paragraph 39 of our statement of facts.         And you might

14     also look at paragraphs 119 to 122 of the complaint

15     itself.

16                 Now, the plaintiffs purport to dispute this

17     fact, and you can look at what they cite in their response

18     to paragraph 39.     Basically what they cite is a Form 1099

19     that the Haiti Fund itself issued to Mr. Perlitz showing

20     that in 2004 he received $3,000 in non-employee

21     compensation from the Haiti Fund, Inc..         I think what the

22     plaintiffs are trying to show is that perhaps he wasn't an

23     employee, perhaps he was an independent contractor.

24                 The plaintiffs refer to meeting minutes and

25     other materials from the board of the Haiti Fund in which
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 12 of 81
                                                      Page 12


1      they appear to recognize that they mischaracterized

2      Mr. Perlitz and the other American volunteers; that

3      perhaps they should have been treated as employees all

4      along instead of independent contractors.

5                 But the issue is not what was the proper

6      characterization of Mr. Perlitz for U.S. tax purposes or

7      for purposes of U.S. wage law or anything like that.             The

8      question isn't was he an employee or an independent

9      contractor.    The question is whose employee or independent

10     contractor was he.

11                And if you look at the document that they

12     themselves cite, this Form 1099, it's very clear that it's

13     the Haiti Fund who's paying him the money and reporting it

14     to the IRS as a Haiti Fund expense.        Father Carrier's name

15     appears in the document in the payer's box.          What it says

16     is Haiti Fund, Inc., care of Reverend Paul Carrier and

17     then his address.     I think what that shows you is exactly

18     what we say; namely to the extent he was acting, he was

19     acting as a representative of the Haiti Fund.

20                Now, the plaintiffs also say, well, look, you

21     paid Mr. Perlitz, you took money down to Mr. Perlitz in

22     Haiti, and that's not a disputed fact.        That's true.

23                In fact, paragraph 27 of our statement of facts

24     says, "Father Carrier took money down to Mr. Perlitz in

25     Haiti."   That's not disputed.      But the question is:         Whose
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 13 of 81
                                                      Page 13


1      money was it?

2                 You might as well say the postman paid your

3      salary if you received a check in the mail.          Yes, Father

4      Carrier delivered money to Mr. Perlitz in Haiti as

5      Mr. Perlitz's compensation and for other PPT purposes, but

6      that doesn't mean that Father Carrier was paying him in

7      any sense that's relevant here.       Because what we're

8      interested in is:     Who was Mr. Perlitz working for?           Yes,

9      Father Carrier delivered the money, but that doesn't prove

10     anything that's relevant.

11                The plaintiffs also rely on Fairfield's

12     investigation which shows money unaccounted for or

13     insufficiently documented from the chapel accounts.

14     Again, that doesn't show that Father Carrier was

15     Mr. Perlitz's employer or that Mr. Perlitz was working for

16     Father Carrier.

17                At most, I suppose what they're going for is an

18     inference that some of that money was delivered by Father

19     Carrier to Mr. Perlitz.     But that's a fact that we've

20     already admitted.     And it's true that money was delivered

21     to Mr. Perlitz, and it wasn't Father Carrier's money, it

22     was Haiti Fund money or perhaps Fairfield money.           But the

23     point is he wasn't personally employed by Father Carrier.

24     So we say that's undisputed.

25                Another subsidiary fact you might look at when
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 14 of 81
                                                      Page 14


1      thinking about who did Mr. Perlitz work for is to ask:

2      Who fired Mr. Perlitz?

3                 It's not disputed that the Haiti Fund fired him.

4      If you look at paragraph 44 of the statement of facts, the

5      plaintiffs deny it, but it appears from the documents they

6      cite in denying it that what they're really getting at is

7      the Haiti Fund didn't act as promptly as it should have,

8      as immediate as it should have.       But there's no dispute

9      that the Haiti Fund fired Mr. Perlitz, which is great

10     evidence that the Haiti Fund was the one who employed

11     Mr. Perlitz.

12                And, in fact, Father Carrier, who at the time

13     still believed Mr. Perlitz was innocent, opposed the

14     firing.   So if the Haiti Fund fired him over Father

15     Carrier's opposition, what does that tell you about who he

16     was working for?

17                Lastly, the last point I want to raise when I'm

18     talking about the undisputed facts is our contention that

19     Mr. Perlitz was under the Haiti Fund's authority, and this

20     is paragraph 37 of our statement.       The plaintiffs say

21     "denied" because Father Carrier had some control over the

22     Haiti Fund.    Of course he had some control over the Haiti

23     Fund.   He was an officer and a director of the Haiti Fund.

24                But you know how corporations work.         If you're

25     an officer and a director of the corporation, the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 15 of 81
                                                      Page 15


1      employees of the corporation don't work for you, they work

2      for the corporation, and if you take them home and have

3      them cut your lawn, you're doing something wrong.           They're

4      the corporation's employee and when you exercise whatever

5      authority you're exercising, it's the corporation's

6      authority that you're exercising.

7                 One last don't I think is worth mentioning, this

8      is Exhibit 20 to the Pollock affidavit.         This is the

9      meeting minutes from the Board of Counselors at Malta.

10     Someone named Marie Garibaldi, gave a report saying that

11     PPT was begun by Father Carrier and by Mr. Perlitz.

12                Now, that may or may not be relevant or

13     admissible or have anything to do about the claim against

14     the Order of Malta, but as to Father Carrier, that's

15     hearsay.   Judge Garibaldi has nothing, no knowledge about

16     the founding of PPT.     She's reporting what she learned in

17     the course of some investigation.       But as to Father

18     Carrier, that's inadmissible.       So whatever effect it may

19     or may not have with respect to Malta, it has no respect

20     to Father Carrier.

21                Let me turn to the statutory count, the one

22     remaining statutory count after we've cleared out a lot of

23     the brush that was in the case at the beginning.           I'm not

24     going to spend any time really talking about

25     extraterritoriality.     I think our brief shows that the RJR
 Case 3:13-cv-01132-RNC   Document 996     Filed 05/19/17 Page 16 of 81
                                                        Page 16


1      case I think is dispositive.         I think that the sheer

2      complexity of the plaintiffs' theory that you have to

3      distinguish a three-level statute from a two-level

4      statute, and if we look at the legislative history, you

5      can see that this is probably what Congress meant.             Just

6      the complexity of that belies the notion that Congress has

7      clearly and unmistakably shown an intent that 2255 should

8      apply extraterritorially.         And that's all I'll say about

9      that and rely on briefs for a fuller explanation unless

10     Your Honor has questions about that.

11                 The main point I want to address with respect to

12     the statute is causation.         Now, the statute has in it the

13     words "as a result of" and we say that means there has to

14     be a showing of causation, and we cite a case on that

15     point.   The plaintiffs don't deny that.          They don't say

16     no, it's not necessary to show causation.           We say in our

17     briefs, there's been no showing of causation, there's no

18     link between any travel that you can show Mr. Perlitz took

19     and any of the abuse that the plaintiffs say they

20     suffered.    Plaintiffs don't rebut that either.

21                 So we say that there's a complete failure of

22     proof on this element, and that's probably the easiest

23     way, Your Honor, that you can dispose of the statutory

24     count.

25                 Although I will say that I think a decision on
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 17 of 81
                                                      Page 17


1      the extraterritoriality point would be helpful in future

2      cases because I think that RJR is relatively new and this

3      is an important point that should be made clear, although

4      I think it should be clear already.

5                 Let me turn to the non-statutory counts and this

6      issue about Haitian law.

7                 In light of Kiobel, the recent Supreme Court

8      case, I think Your Honor knows that the landscape for mass

9      tort claims brought by aliens in United States courts that

10     have to do with things that happened overseas, that

11     landscape has changed dramatically, and we're not going to

12     see claims brought asserting violations of private

13     international law for the most part anymore.          What we are

14     going to see is claims of intentional torts of one kind or

15     another.

16                So instead of saying, you know, you American

17     multi-national company have violated, you know, you have

18     violated an international convention against slavery, you

19     might see a claim for the claim of false imprisonment.           Or

20     instead of saying you violated the international law with

21     respect to torture, you're going to see a claim for

22     assault and battery.     And I think that's already started

23     to happen.

24                So all of these cases, all cases where the

25     plaintiffs are going to be bringing common law tort
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 18 of 81
                                                      Page 18


1      claims, they are all going to raise this sort of conflict

2      of laws issues that we face in this case.         I think it's an

3      important issue and one that you are going to be able to

4      give guidance for in future cases because we are at the

5      cutting edge of this, I think.

6                 The plaintiffs have spent a lot more time trying

7      to persuade you of the 10,000 reasons why you shouldn't

8      get to the Haitian law question and not so much time on

9      the Haitian law question, maybe for understandable

10     reasons; but let me just go through what I think are the

11     main procedural points that will allow you to get to the

12     substantive question.

13                The first is just the circularity of the

14     plaintiffs' argument.     If your read what they're saying,

15     they're saying that we have failed to adequately plead

16     foreign law under Connecticut pleadings standards and

17     therefore we can't present the claim.

18                Now, you might say:      Why do Connecticut

19     pleadings standards apply in this case?         We're in federal

20     court after all.     Their answer is the claim is governed by

21     Connecticut law and therefore Connecticut standards apply.

22     That is utterly vacuous, it has no force at all.           It's a

23     completely circular argument.

24                And it should be clear, I hope in our papers,

25     that in order to get to that result, they've really
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 19 of 81
                                                      Page 19


1      miscited even the Connecticut law.        They say if you look

2      at Section 10-3 of the Practice Book, you see that foreign

3      law is an affirmative defense, but that's nonsense.

4                 If you look at Section 10-3, you see that it is

5      almost exactly an analogue of federal Rule 43.1, the Rule

6      of Evidence of Foreign Law.       And that's not a pleading

7      rule, that's a notice rule.

8                 There is a Connecticut rule about pleading

9      affirmative defenses, it's Section 10-50, and it lists a

10     bunch of affirmative defenses you have to plead, just like

11     Federal Rule 8 lists a bunch.       But foreign law isn't on

12     either list.

13                So I think that just from the get-go, the

14     argument that they try to cobble together about

15     Connecticut law doesn't fly.

16                I think also that if you read the Rationis case,

17     a Second Circuit case, you'll see that the notice that we

18     gave in our pleadings of the potential applicability of

19     the Haitian law is more than sufficient.         It's better than

20     the notice that the Second Circuit approved in Rationis.

21                In Rationis the party asserting the foreign law

22     didn't even identity foreign law might apply.          It said we

23     intend to raise an issue about some country's foreign law.

24     Here we specifically said Haitian law may govern, I

25     believe it's Counts Three and Five, counts on negligence
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 20 of 81
                                                      Page 20


1      and the count on fiduciary duty.

2                 And there can't have been any surprise about

3      this.   I mean, we've gone back and cataloged a number of

4      times over the many years we've been in front of Your

5      Honor that the issue has at least been noted, sometimes

6      by, me sometimes by you, in court as to the potential

7      applicability of Haitian law.

8                 Now, there is a point that's raised in a

9      footnote of the plaintiffs' briefs about, well, we didn't

10     have a chance to depose your lawyers, the lawyers who

11     you've offered to give opinions.       The main point to make

12     about that, Your Honor, is that if you're faced with a

13     motion for summary judgment and you feel like you need

14     some more discovery, Rule 56 has a mechanism to do that.

15     It used to be 56(d).     I think it's been renumbered.           But

16     the point is they didn't do it, instead they hired a

17     Haitian law expert to say what the Haitian law is.

18                So we think that the Haitian law issues are

19     basically perfectly teed up for you to decide and we think

20     that it's quite straightforward to decide them on the

21     materials that you have before you.

22                So that's just by way of getting rid of the

23     obstacles to even considering the question.

24                It's true, as the plaintiffs say, that we also

25     have to show that there's a true conflict of laws.
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 21 of 81
                                                       Page 21


1      Because if Haitian law and Connecticut law are the same,

2      then this is a fruitless exercise, a pointless exercise.

3                 And I'd refer Your Honor to what we say on

4      page 23 of our main brief.        And just to paraphrase it,

5      under Haitian law, an agent is not personally liable for

6      things that he does in the course of his agency that are

7      negligent, only his principal is libel.          And you can

8      compare that with what is just the black letter law I

9      think anywhere in the United States, but certainly in

10     Connecticut, by looking the Restatement Second of

11     Agencies, Section 343, or the Scribner and Manning cases,

12     all of which say that as I know you know, if an agent is

13     negligent in the course of his agency, sure, the agent can

14     be personally liable too.

15                Now, the plaintiffs did correct something that

16     we said in our main brief which was having to do with the

17     test that you're supposed to apply in deciding which law

18     should govern.     We initially cited the O'Connor test, and

19     shortly before the briefing was due, there was a

20     Connecticut Supreme Court decision which made it clear

21     that you should look at the restatement, so in our reply

22     brief we've adopted the restatement approach.

23                The main sort of prefatory point I want to make

24     is, yes, that the approaches are different, but they're

25     not really that different.        Both approaches start off with
 Case 3:13-cv-01132-RNC   Document 996     Filed 05/19/17 Page 22 of 81
                                                        Page 22


1      the presumption that in a tort case, in a personal injury

2      case, the law in the place the injury occurs applies and

3      that you only look to another law if there's a really good

4      reason to do so.     That's a very general way to put it.

5      But it's just a way to say that the starting point for

6      both tests is basically the same.

7                 Now, you would think having noted that the

8      restatement approach is the right approach, that the

9      plaintiffs would have cited the relevant section of the

10     restatement, which is Section 146.          That section says that

11     the law is the place the injury applies unless on a

12     particular issue there's some other state with a more

13     significant relationship.         That's the default rule, that's

14     the rule that ordinarily applies in the absence of some

15     good reason to do something else.         And in all of the cases

16     that the plaintiffs cited, the plaintiff in those cases

17     had significant contacts with the law of the state that

18     was ultimately applied.

19                So the Western Dermatology case, the plaintiff

20     was a New Mexico company, New Mexico law applied.             The

21     Vasquez case, the plaintiff was a New York resident, his

22     employer was a New York employer, New York law applied.

23     Down the list you can go.

24                There's no case they've cited where the

25     plaintiffs have essentially no connection with the forum,
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 23 of 81
                                                      Page 23


1      which is what the case is here with respect to these four

2      Haitian plaintiffs, and yet the Court applied a law other

3      than the law of the place of the injury.

4                  But we can step back from Section 146 which

5      states the default rule, and we can step back from the

6      cases, and we can say, well, let's look sort of with new

7      eyes, with fresh eyes, at the factors in Section 145 of

8      the restatement, which after all is where the default rule

9      comes from.    What do those factors tell us about what law

10     should apply?

11                 Well, where are the parties' domiciles?         There's

12     no dispute about that.     Plaintiffs are in Haiti, Father

13     Carrier, Connecticut.

14                 Where did the injury occur?      That's not

15     disputed.    The injury occurred in Haiti.

16                 Where was the relationship centered?        That's not

17     really disputed.     The plaintiffs say from the plaintiffs'

18     perspective it was centered in Haiti, they concede that

19     because they have to concede that.        But in fact from any

20     perspective, whatever relationship existed between Father

21     Carrier and these four plaintiffs was in Haiti.          There's

22     no showing there was ever any communication between them

23     while Father Carrier was somewhere else.         Everything that

24     ever happened in the context of that relationship happened

25     in Haiti.
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 24 of 81
                                                        Page 24


1                 The only factor that even potentially could

2      weigh in another direction is if you ask:           Where did the

3      tortious conduct occur?       And here I think the important

4      point, Your Honor, is to just recognize why it is that

5      Father Carrier has been sued and all the other many people

6      on the board of the Haiti Fund or at Fairfield or in the

7      Order of Malta, why is it that Father Carrier of all these

8      people who has something to do with PPT was sued.             Well,

9      it's because he was in Haiti.         He was the one who

10     allegedly was down there and failed to see red flags.                  He

11     was the one who was down there.

12                And if you believe Thony Vall's interrogatory

13     answers, which of course you have to on summary judgment,

14     saw something inappropriate take place in Mr. Perlitz's

15     bedroom.   Not an instance of sexual abuse, but something

16     that should have been concerning.         He was the one that the

17     boys felt unable to approach who didn't make himself

18     available to them so that they could express their

19     concerns to him.

20                So what is it that distinguishes Father Carrier

21     from every other American who could have been sued?                I

22     mean, if you recall we've got John Does one through ten on

23     the caption.       He was the guy in Haiti and he's the link,

24     of course, between the institutional defendants and this

25     case because he was in Haiti.         He could have seen, he
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 25 of 81
                                                      Page 25


1      should have seen.     That's the plaintiffs' case.

2                 So on the 145 analysis, our position is, at best

3      for the plaintiffs, you have one factor that's mixed.

4      Well, two factors:     Domicile and the factor about where

5      the conduct occurred.     But the injury and the center of

6      the relationship and the overall test clearly points in

7      favor of Haiti.     But I would say that even where the

8      conduct occurred weighs strongly in favor of Haiti.              So it

9      really is a slam dunk under 145.

10                If you didn't know anything about the case and

11     you heard that there were Haitian young men who had been

12     sexually abused in Haiti and that there was someone who

13     had gone down there and failed to supervise the person

14     running the school, you would say Haiti.         And we think

15     that that's the obvious correct answer in this case.

16                You can zoom out even farther, the structure of

17     the restatement, you know, you have Section 146, which is

18     this default rule that applies to personal injury cases;

19     you have Section 145, which at a higher level of

20     generality talks about tort cases; and then you have

21     Section 6, which is at the highest level of generality and

22     it talks about what are the principles that we use to talk

23     about conflicts of law in all kinds of cases.

24                And again, if you look at these factors, you see

25     that they really weigh very heavily in favor of the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 26 of 81
                                                      Page 26


1      application Haitian law here.

2                 Both parties agree that the parties'

3      expectations are unimportant in this kind of case.           It's a

4      tort case.   No one had any expectations.        It's not a

5      contract case.     No one thought, well, if I attend PPT,

6      will Connecticut law apply or will Haitian law apply.

7      It's just not relevant.

8                 There's been no showing of a policy difference

9      between Haiti and the United States.        As our affidavits

10     show, I think both countries favor compensating sex abuse

11     victims.   They just allocate the liability differently.

12     So from the perspective of compensation for the victims,

13     there's no relevant difference, it's not as though Haitian

14     law says this is not a tortious act, this kind of sexual

15     abuse.   The Haitian law would treat the principal but not

16     the agent as liable if the agent is negligent of his

17     duties of supervision.     But that's just a question of

18     where the liability falls, it's not a basic policy

19     question about is this person going to be compensated or

20     not.

21                There is one factor that I think is -- it gives

22     me the greatest pause, maybe gives you the greatest pause,

23     which is the supposed uncertainty of the law.          Oh my gosh,

24     how are we going to figure out what Haitian law is.              And I

25     want to talk about Professor Curran in this context.
 Case 3:13-cv-01132-RNC   Document 996     Filed 05/19/17 Page 27 of 81
                                                        Page 27


1      Because I think what the plaintiffs want you to believe is

2      that our submission of her materials is more or less an

3      admission that Haitian law is hopelessly unclear and

4      therefore we have to look at french law.           That's not the

5      case.   Mr. Succar explains why that's not the case.

6                 In paragraphs 10 to 12 of his first statement

7      and paragraph 5 of his second statement, the reason is if

8      you're a lawyer in Haiti, what you do when you're

9      researching a legal question is you consult french

10     sources.   The French Civil Code and the Haitian Civil

11     Code, I won't say they're word for word identical across

12     the board, but it basically is the French Civil Code.

13     There's been much less amendments as I understand it to

14     the Haitian code than there has been to the French code

15     over the last couple centuries, but more or less, the

16     Haitian code is the French code.         And I tried to think of

17     examples in America that would make this more familiar to

18     us and I came up with two.

19                The first is if you imagine, you know, a time

20     earlier in our history when there was not a thriving law

21     publishing industry, how would you know what the law is if

22     you were a lawyer in America a long time ago.            You might

23     carry around your Blackstone under your arm and no one

24     would say, Blackstone, that's English.          What does that

25     have to do with anything.         If you were looking for the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 28 of 81
                                                      Page 28


1      black letter common law, of course that would be an

2      absolutely reasonable thing to do.        Of course today we

3      have gazillions of law books, so no one needs to do that

4      anymore.   But in Haiti, I think that they do have to look

5      to French sources more than they would in other places,

6      partly because they just don't have the volume of

7      materials in their own country.

8                 A more modern example you might consider would

9      be an expert in the UCC.      Of course the UCC is the uniform

10     code actually explicitly thought of by the drafters as

11     sort of in the nature of a civil code, like the French

12     code, not a common law statute, and it would be crazy to

13     say I can't credit the opinion of this expert on the UCC

14     because he's an expert on the Connecticut enactment of the

15     UCC and not the Massachusetts enactment of the UCC.

16     Because it's one code.

17                It's easy for experts in one to understand the

18     other, and to the extent there are minor differences, they

19     would be only minor.     And, you know, Mr. Succar should set

20     your mind at ease on this by explaining in his statement

21     that, yes, I've reviewed Professor Curran's opinion and I

22     think it correctly states Haitian law.

23                More to the point, and I'll come back to this,

24     if you look at Mr. Joseph's declaration, the plaintiffs'

25     declaration, the gist of that is not we got the law wrong.
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 29 of 81
                                                      Page 29


1      What we say about the responsibility of agents versus

2      principals, we got it wrong.      That's not the gist.       The

3      gist of his opinion is there are other ways that Father

4      Carrier might have been liable under Haitian law, and I'll

5      come back to that.

6                 But the point I'm making just to bring it back

7      to the restatement, it's just not correct that Haitian law

8      in this context is particularly difficult to discern and

9      in fact I think the materials that you have lay it out

10     very clearly.

11                You know, Professor Curran, I do think she's

12     pretty uniquely qualified to help you in determining this

13     law for a couple of reasons.

14                First, she really can bridge for you and for me,

15     frankly, the common law/civil law divide.         Sometimes when

16     you read materials by civil lawyers, whether they're

17     French or Haitian or anybody, it's very difficult to

18     understand what they're saying, and I think if you read

19     her declaration, she has the vocabulary that lays it out

20     in a style that's comprehensible to common lawyers like

21     us.

22                Second, just linguistically, the plaintiffs made

23     a point in their papers quibbling about the translation.

24     No one is more qualified than Professor Curran, as you

25     could see from the CV, to give a really precise rendering
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 30 of 81
                                                       Page 30


1      of the French or Haitian civil codes.

2                 So I think her expertise is important in this

3      case and should give you assurance that we didn't just get

4      our Haitian lawyer and they got their Haitian lawyer and

5      the two are butting heads.        The opinion that our Haitian

6      colleague is giving is well grounded in the civil law and

7      confirmed for you by this lengthy and scholarly opinion

8      which shows that the same precise provision in France

9      means just what we say it means.

10                If you agree with me so far, you're going to get

11     to the substantive question, which is, what did Haitian

12     law say.   And we say there's two parts to that.

13                The first is that when a principal is

14     incorporated and its agent is negligent, the principal,

15     but not any of the other agents, is liable.           That's

16     paragraph 21 of Mr. Succar's first declaration.           And you

17     might also look at paragraphs 9 to 13 of Professor

18     Curran's declaration.     Both of those lawyers focused on

19     the question of, well, who's the employer, which as a

20     question of fact we've already discussed.          We really think

21     it's not disputed that Mr. Perlitz worked for the Haiti

22     Fund.

23                Mr. Succar put some meat on the bones of that

24     subject by outlining for you the factors that you use

25     under the Haitian labor code to determine when someone is
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 31 of 81
                                                      Page 31


1      an employee, and I would refer you to his discussion of

2      the labor code.

3                 In his first declaration he makes another

4      important point on this, which is to say that when someone

5      like Father Carrier is acting with respect to an employee

6      of the corporation, he's acting as a representative of the

7      corporation, not for himself.       That's paragraph 27 of

8      Mr. Succar's first declaration.

9                 The second big point of the substantive law that

10     I want to raise for you is found primarily in paragraphs

11     21 to 26 of Professor Curran's declaration.          Which is

12     under a civil law the agent of a corporation is liable

13     only if it's a case of intentional tort of a special

14     gravity that's incompatible with the normal exercise of

15     duties.   And the way that we've put that in our papers is

16     to say the agent of a corporate employer is not liable for

17     his own negligence in the course of his employment.              Only

18     the prison is libel.     And Mr. Succar adopts this view in

19     paragraph 12 of his declaration.       That's the law, that's

20     the Haitian law.

21                Now what does Mr. Joseph say?        I think what he

22     really does is say, let's look at something else.           You

23     know, I'm not going to address what you say about agents

24     and principals.     Instead I am going to look at the

25     criminal law of Haiti and say, well, Father Carrier might
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 32 of 81
                                                      Page 32


1      have been liable as an accessory in Haitian criminal law.

2                 It's true in Haiti generally, unlike here, you

3      can piggyback a civil case on to a criminal case.           So if

4      there's a criminal case against Mr. Perlitz, yes, the

5      plaintiffs, the injured people, could come and bring their

6      civil claims in the criminal court.        They have a separate

7      court to deal with those kinds of matters.

8                 But the problem with Mr. Joseph's view is

9      Article 56 of the Criminal Code, which we cite in

10     paragraph 4 of Mr. Succar's second declaration, which

11     makes it clear when that happens, you use the civil code

12     to determine the civil liability of the victim who is

13     coming to the criminal court.       So the criminal court in

14     that situation would be applying the civil law to say is

15     this person civilly liable or not.

16                Now, if that's not the case, if what they're

17     saying is Father Carrier was criminally liable in Haiti,

18     it's not something an American court is permitted to do or

19     can do or should do to determine the penal liability of

20     someone under another country's law.        We cite a statement

21     of the restatement on the foreign relations law to that

22     effect.   But essentially what I'm saying to you, Your

23     Honor, is that I think it's very clear from the materials

24     Mr. Succar cited, that even in that procedural situation

25     you still apply the civil law to determine substantively
 Case 3:13-cv-01132-RNC   Document 996     Filed 05/19/17 Page 33 of 81
                                                        Page 33


1      whether the person is civilly liable.

2                 Mr. Joseph also talks about the provision in

3      Article 1170 of the code which everybody agrees is the

4      relevant provision of the civil code that talks about

5      being liable for things in your custody.           I think his

6      wording might be guardian.         And both Mr. Succar and

7      Professor Curran explain why that's a misconstruing of the

8      code.

9                 What that's essentially about is if I have some

10     object that injures someone, I'm liable because it's my

11     object.   Both of our experts point out that's not our

12     case.   It's not applicable to a case where what you're

13     alleging is someone's intentional tort that didn't use

14     some sort of instrumentality or object.

15                They also make a point on the very last page of

16     Mr. Joseph's declaration.         They say whether someone is a

17     subordinate and whether he's acting within the scope of

18     his functions is a question of fact, not a question of

19     law.

20                Okay, that's true in our courts.          I'm sure

21     that's true in the Haitian courts.          But of course we've

22     given you the facts and we say the facts are undisputed

23     about who's employed by whom in this case.           Once you get

24     to summary judgment, of course you can't say, well, it's a

25     question of fact.     You have the facts.       If the facts are
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 34 of 81
                                                      Page 34


1      as we say they are, what we're asking you to do is apply

2      Haitian law, and we think if you do you'll find that

3      Father Carrier can't be liable.

4                 Thank you very much for giving us so much time

5      and I'm happy to answer any questions.

6                 THE COURT:    Thank you very much.

7                 MS. BIERSTEIN:     Your Honor, would you prefer for

8      me to proceed or to take a short break?         I'll do either.

9                 THE COURT:    I think we can proceed.       Thank you.

10                MS. BIERSTEIN:     Good afternoon, Your Honor.

11                THE COURT:    Good afternoon.

12                MS. BIERSTEIN:     Thank you again.     I'll echo what

13     Mr. Folkman said about thank you for your time that you've

14     accorded us on all of the issues to have everything

15     thoroughly heard.

16                I'm going to come back to this, it was a little

17     bit out of order, but I want to start really because I

18     think it's an entree point into talking about Father

19     Carrier, something that Mr. Folkman said when he said that

20     the reason that Father Carrier was sued in this case was

21     because Father Carrier was the one in Haiti.          According to

22     Mr. Folkman that's what differentiates Father Carrier from

23     all the other people who, you know, were tangentially

24     involved in this.     But I think that's really not the case.

25                And I think Your Honor is aware of the fact that
 Case 3:13-cv-01132-RNC   Document 996     Filed 05/19/17 Page 35 of 81
                                                        Page 35


1      the reason Father Carrier was sued here is not because he

2      was the man in Haiti.     It's because -- I mean, it's not

3      only because of that.     Obviously there's some truth to

4      that.   But I think what we see of this is that Father

5      Carrier is the nexus here among everyone.           Father Carrier

6      is the heart of this case.         He is the nexus among all the

7      institutions and Perlitz.         He was the connector, the prime

8      mover, he was the person who got all of this started.

9                 Now, as we know, he's connected to all of the

10     institutions here.     He was a chaplain, later magistral

11     chaplain of the Order of Malta, he was a chaplain and

12     director of campus ministry at Fairfield University.               He's

13     obviously a member of the Society of Jesus.            It was Father

14     Carrier who met Douglas Perlitz who became involved with

15     him, in whatever way we understand that involvement to be,

16     who then solicited and arranged for Fairfield with Malta

17     to collaborate with Perlitz in founding PPT by providing

18     the funds needed for the project that Perlitz proposed.

19                I think you have the evidence you've seen so

20     far, the evidence we've submitted with our papers, and

21     frankly the evidence defendants submitted shows, that the

22     relevant institutions who were claiming the credit for

23     this, who were funding it, who were involved in this all

24     understood this to be Father Carrier's mission, Father

25     Carrier's project.
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 36 of 81
                                                      Page 36


1                 They understood, as we discussed last time, and

2      I don't want to rehash all of that, that he was doing that

3      to some extent, and we already have, but there is no doubt

4      that Father Carrier was the man on the ground.          Father

5      Carrier is ground zero of where this got started.

6                 All the institutions with which he was involved

7      knew about his work in Haiti.       All of them simply left him

8      alone in this work, failing to supervise to check what he

9      was doing on the ground.

10                Father Carrier was also, I think it's now

11     undisputed, an individual with a troubled history.           He

12     never should have been left in sole charge of the program

13     being run by Douglas Perlitz.       The society knew because of

14     the letter from Father Clooney, if not otherwise, about

15     incidents of improper touching at Boston College.           There

16     were, as this Court is aware, is similar incidents at

17     Fairfield.

18                The inappropriateness between Father Carrier and

19     Perlitz was manifest to observers and yet Father Carrier

20     was left more or less in sole charge of supervising

21     Perlitz with respect to PPT.

22                Now, Father Carrier doesn't dispute any of that,

23     and he in fact I think tries to make a point at the

24     beginning that none of that is relevant to this motion,

25     and I would agree that at least some portion of that is
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 37 of 81
                                                      Page 37


1      relevant only to the other defendants.

2                 So I want to make it clear, to the extent that

3      Father Carrier says material in the Clooney letter, the

4      reports of the other events at Fairfield, they're not

5      relevant to Father Carrier's motion, they're highly

6      relevant obviously to the motions of the other defendants.

7                 Just as an aside, because I don't think it

8      connects up elsewhere, when Mr. Folkman referred to other

9      matters that he thought were irrelevant.         In terms of

10     whether there's admissible evidence of Michele's

11     allegations of Father Carrier abused him, again, we

12     pointed this out the last time.       The question for the

13     Court is whether there's evidence that can be made

14     admissible and I think in the case of Mr. Michel,

15     obviously that evidence can be made admissible for

16     purposes of trial.

17                But for purposes of these motions, as I said, we

18     understand that these issues about Father Carrier's

19     character pertain more to the other defendants, but I

20     think they do inform the place where we find ourselves

21     with respect to Father Carrier.

22                Father Carrier also doesn't dispute that if

23     Connecticut law applies, plaintiffs are entitled to try

24     their claim for negligent supervision and that summary

25     judgment would not be appropriate.
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 38 of 81
                                                        Page 38


1                 So what I want to do is to actually start with

2      the choice of law question, and then I'll come back to the

3      statutory questions at the end.         But I think the choice of

4      law question is central to Father Carrier's argument and

5      so I want to start with that.

6                 On the question of the waiver of Haitian law,

7      Mr. Folkman I think mischaracterizes our argument because

8      we never actually argued the Connecticut procedural law

9      would apply.       We understand that federal pleading

10     standards apply here.

11                What we have argued is that Connecticut law

12     governs the substance.       To the extent that foreign law is

13     an affirmative defense under Connecticut law, that would

14     be part of the substantive law, and then the federal

15     pleading standards, which is what we put in our brief,

16     it's the federal pleading standards that would determine

17     how you have to plead an affirmative defense.

18                But I think to some extent the question whether

19     this is an affirmative defense under Connecticut law or

20     isn't is really beside the point, and I think it's beside

21     the point for two reasons.

22                First, our initial argument about the waiver

23     wasn't simply the lack of notes.         It's also the fact that

24     Father Carrier affirmatively sought dismissal under

25     Connecticut law of claims of three of the plaintiffs in
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 39 of 81
                                                      Page 39


1      this round of cases.     I'm not even talking about in the

2      initial Jean-Charles round.       He argued Connecticut law

3      there.    Whether that would be binding or be a waiver in

4      this, you know, this separate group, is a different

5      question.

6                  But we're not relying on the arguments he made

7      in Jean-Charles case because he made a separate motion

8      here early in the case and he sought dismissal under

9      Connecticut law.     Having sought dismissal under

10     Connecticut law, we say he should be precluded from later

11     arguing that Connecticut law doesn't apply.

12                 And I think that's all the more true because

13     Father Carrier says that he pleaded that Haitian law may

14     apply, but that's not actually what he pleaded.          He

15     pleaded that if Haitian law applied, certain things might

16     fall.    But there was never an assertion that he thought

17     that Haitian law did apply until these motions.

18                 And I think that the point that Mr. Folkman made

19     that Connecticut law procedurally is similar to federal

20     law, that is to Rule 44.1 of the Federal Rules of Civil

21     Procedure.    But that rule is not of any help to Father

22     Carrier because the very case on which he relies in his

23     discussion of Rule 44.1, which is Rationis makes clear

24     first of all that the purpose of the notice under

25     Rule 44.1 is to prevent unfair surprise.         And as set forth
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 40 of 81
                                                      Page 40


1      in the Advisory Committee Notes to that rule and quoted by

2      the Second Circuit in Rationis Enterprises, the stage

3      which the case is reached at the time of the notice, the

4      reason proffered by the party for his failure to give

5      earlier notice and the importance to the case as a whole

6      of the issue of foreign law are among the factors which

7      the court should consider in deciding a question of the

8      reasonableness of a notice.

9                 So if we're looking at the reasonableness of the

10     notice that Father Carrier gave that he would rely on

11     Haitian law, those are the factors that we look at.

12                Now it doesn't really help to simply say, well,

13     the notice he gave here was clearer than the notice that

14     they gave in Rationis, because that's not the point.             The

15     point is to look at the reasonableness under the

16     circumstances of the case.

17                Here Father Carrier did not assert the

18     applicability of the Haitian law until after the close of

19     discovery so that plaintiffs had no opportunity or no

20     reason to take discovery of facts that might be pertinent

21     under Haitian law but not under Connecticut law.           Nor is

22     there any good reason for the late assertion of Haitian

23     law.   It's not as if Father Carrier only belatedly

24     discovered the Haitian connection to this case.

25                In fact, there were these kind of vague
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 41 of 81
                                                      Page 41


1      illusions, well, if Haitian law, if Haitian law, and then

2      nothing, then motions made addressing things under

3      Connecticut law.

4                 So it's not as if there was a reason which you

5      would sometimes find in a complex commercial transaction

6      and a lot of pieces and people don't realize until later

7      that this boat was actually flagged in this country and

8      that country comes to the fore, and there may be good

9      reason that the foreign law wasn't clear.         I think you see

10     that in Rationis itself where there was an issue of so

11     many countries involved.

12                But here I think it was always clear what the

13     basic facts were.     So I think the factor of the reason

14     proffered by the party for his failure to give earlier

15     notice, I think it's -- it clearly suggests, you know,

16     that there was some reason, or maybe there was no reason

17     that it wasn't raised sooner, but it ought to have been

18     raised before the parties completed their discovery and

19     then comes a motion for summary judgment and now it relies

20     on Haitian law.

21                I think further to that point, and I think

22     Mr. Folkman misunderstands the point we made about

23     Mr. Succar and the belated proposal of him, we understand

24     the procedures under Rule 56 for asking for additional

25     evidence, but the problem is we have a scheduling order in
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 42 of 81
                                                      Page 42


1      this case.    We have an order that provided deadlines for

2      disclosure of all witnesses outside the U.S..          Said if you

3      plan to rely on and to call a witness outside the U.S.,

4      here's the date by which you need to disclose that, and

5      Mr. Succar was not disclosed in that context.          Now,

6      obviously neither was our expert, Mr. Joseph.

7                  I think our view is if they could put in a

8      belated notice of a late national witness, so can we.            But

9      I think it hamstrings the Court in making this decision

10     that because the issue was not raised in time, the Court

11     doesn't have the kind of developed record you might have

12     in terms of depositions of these experts if the Court has

13     to weigh the two affidavits and figure out what's going

14     on.    The fact that the issue was raised so late in the

15     case, I think is not only unfair surprise to us, but as I

16     say, hamstrings the Court in assessing the declarations it

17     has been provided.

18                 The last factor given by the Court, which has to

19     do with the importance to the case of the issue of foreign

20     law, this is not, at least with respect to Father Carrier,

21     a tangential issue.     The heart of Father Carrier's defense

22     to these claims is that Connecticut law doesn't apply to

23     him.

24                 So I think if you take Mr. Folkman's point that

25     it's Rule 44.1 that governs the reasonableness of his
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 43 of 81
                                                      Page 43


1      notice, I think it comes back to where we start, which is

2      I think they waived the applicability of Haitian law by

3      not having raised it sooner.

4                 I think if you decide that it's not waived and

5      you look at the factors under the choice of law analysis,

6      and I think we disagree obviously with some of the ways

7      that Mr. Folkman analyzes these factors, Mr. Folkman put a

8      lot of emphasis on the fact that the cases he -- the cases

9      he referred to the plaintiffs had a particular connection

10     to the forum at issue, but I would note that the factors

11     listed in the restatement don't put a special focus on the

12     plaintiffs' domicile versus the defendants'.          It talks

13     about the domicile of the parties.        And so you might have

14     a lot of cases where it was the plaintiffs' domicile that

15     ended up being the law selected.       But there's nothing in

16     the factors that would cause you to weigh that more

17     heavily than the others.

18                In terms of the other factors -- and I don't

19     want to belabor this too long because we did do this in

20     our brief, but just to note again where we disagree with

21     this -- we do agree the place of the injury was in Haiti.

22     I think there's no question.

23                In terms of the place where the conduct causing

24     the injury occurred, Mr. Folkman makes a pitch for why

25     that's really Haiti as well, and he makes that argument
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 44 of 81
                                                      Page 44


1      based on the idea that our claim really turns on what

2      Father Carrier saw in Haiti and what he did in Haiti, and

3      this comes back to his point that this case is really

4      about Father Carrier being the person on the ground.             But

5      I think that's really an incomplete way to look at this

6      because it's true that Father Carrier saw things in Haiti

7      that he should have done something about.

8                 But to begin with, he didn't to Haiti merely as

9      a private individual.     He went on behalf of all these

10     institutions in Connecticut.      But the real problem here is

11     what he failed to do when he was in Connecticut at the

12     outset and what he failed to do when he came back to

13     Connecticut.

14                When they first established PPT, he failed in

15     his role, whether it's at Fairfield, whether it's, you

16     know, through the Jesuits, whether it's his role at Malta

17     when it was first established, failed to adopt any sort of

18     guidelines or safeguards to protect the children who were

19     going to be there.

20                Once he was going down to Haiti and seeing

21     inappropriate conduct taking place in front of him, he

22     failed when he came back to Connecticut to report that to

23     anyone, to tell anyone about the dangerous signs he'd

24     seen.   You know, Perlitz is showing pornography to young

25     boys.   Failed to use his authority, whether through Haiti
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 45 of 81
                                                       Page 45


1      Fund, Fairfield, Malta, all of the entities that might

2      have been involved, to do anything about it.           It was his

3      role in the Connecticut institutions through which he was

4      functioning and it was in his role through the Connecticut

5      institutions that he failed to take the steps that he

6      should have taken.

7                 So although the injury certainly occurred in

8      Haiti, I think the place where the conduct that Father

9      Carrier engaged in that caused it, Father Carrier's

10     negligent conduct, was predominantly we believe in

11     Connecticut where he should have been carrying out -- I

12     mean, in theory, you would go to Haiti, observe conditions

13     on the ground, come back home and say here's what we need

14     to do.   He didn't do it.     But it was in Connecticut he

15     would do that, we believe.        So I think that factor really

16     comes back the other way.

17                In terms of the Section 6 factors that Mr.

18     Folkman discussed, once you do the factors under Section

19     145 of the restatement and you get to the Section 6

20     factors, we went through all of these in our brief and we

21     believe that they all favor the application of Connecticut

22     law.   But I just want to call out a couple in particular,

23     which is the relevant policies of the forum.

24                Mr. Folkman says that those don't point either

25     way because Haiti and Connecticut simply allocate
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 46 of 81
                                                      Page 46


1      liability differently.     But I don't think that's really

2      accurate.    Because I think in Mr. Folkman's view of

3      Haitian law, which we disagree with, so I think it's one

4      of the problems is it's hard to assess the factors without

5      knowing what Haitian law is.      So you know, we both get to

6      the question of what is Haitian law even before we know

7      whether we need to concern ourselves with it.

8                  But I think if Haitian law were as Mr. Folkman

9      says, the policy of Haitian law is to limit and cut off

10     liability, to limit who can be responsible; whereas under

11     Connecticut law, you have the full range of possible

12     people who were responsible for this conduct.

13                 And I think given that both places, Connecticut

14     and Haiti, are interested in protecting children from the

15     kind of conduct that occurred here, there are very

16     different policies about how you do that, whether you, you

17     know, because Haiti, according to Mr. Folkman, balances

18     that with a policy of protecting individuals.

19                 So it says we go this far to protect the

20     children, but we don't go this far because that would

21     impose liability on individuals says Mr. Folkman.           As I

22     say, we'll come to our different view of that Haitian law.

23                 Whereas Connecticut, the law would be that we're

24     protecting people from this kind of negligence and it

25     doesn't matter.     We don't cut that off.      We don't balance
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 47 of 81
                                                        Page 47


1      that against protecting individuals.

2                 So I don't think that the policy issue is

3      neutral.   And I think that typically when courts look at

4      these policy questions, they look at how it plays out

5      here, what is it that Haiti's trying to do with its rule

6      that Connecticut is trying to do something different.              So

7      I think the policy considerations would point to

8      Connecticut law.

9                 Mr. Folkman also suggests that Haitian law is

10     much easier to determine than we think it is, but I have

11     to say, listening to his argument, what I heard

12     Mr. Folkman essentially suggest to the Court is that you

13     have to look to French law because Haitian law is

14     undeveloped.       He didn't use that word but he analogized to

15     a situation a 150 years ago in the United States where

16     there wasn't much American law and you might be carrying

17     around Blackstone.

18                So I take that to be an analogy to a situation

19     where Haitian law is undeveloped and so we have to look to

20     the law of another country as Haitian lawyers themselves

21     have to do to make a decision about, well, what should

22     Haiti do here?       Let's start by looking to French law.

23                The notion that the two laws are merely the same

24     so you should look at the French law experts opinion I

25     think kind of misses the point.         That is the two laws,
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 48 of 81
                                                       Page 48


1      French and Haitian.

2                 If Connecticut law and New York law are the same

3      and they're both -- it's clear what they both are and

4      they're the same, you don't need to go ask a New York

5      lawyer what that common law -- the law that's common

6      between the two states is.        You can go ask the Connecticut

7      lawyer because the Connecticut lawyer will also know the

8      answer.

9                 But according to Mr. Folkman, if we want to

10     understand Haitian law, which happens to be the same as

11     French law, we can't simply ask the Haitian lawyer because

12     the Haitian lawyer apparently doesn't have the same body

13     of law, or the developed body of law, to turn to, and the

14     Haitian lawyer doesn't necessarily know and then needs to

15     turn to the French lawyer.

16                I want to say, I think Mr. Folkman a little bit

17     wants to have it both ways, because on the one hand, he

18     starts off in his motion, he provides us with the

19     affidavit of Mr. Succar and also of Professor Curran,

20     because she explains French law and then Mr. Succar can

21     pick up on that and say we would look to French law.              Now

22     he wants to come back and say, now Mr. Succar looks at her

23     application and says, oh, yeah that's Haitian law.            If he

24     can say that's Haitian law, then what's she doing there at

25     all?   She's an expert on French law.
 Case 3:13-cv-01132-RNC    Document 996   Filed 05/19/17 Page 49 of 81
                                                       Page 49


1                 It's kind of an untenable position to both argue

2      that Haitian law is easily determined and also to suggest

3      that we need a complicated scholarly affidavit from a

4      French law expert because the Haitian law expert doesn't

5      have the developed body of law to call on to tell us what

6      the Haitian law is.

7                 So I think there too we have an issue of the

8      ease and determination and application of the law to be

9      applied as well as the certainty, predictability and

10     uniformity of result again what we think points to

11     Connecticut.

12                THE COURT:     Would this be a convenient time for

13     us to take a break?

14                MS. BIERSTEIN:      Sure.   If that works for Your

15     Honor, that's fine.

16                THE COURT:     All right, thank you.

17                MS. BIERSTEIN:      Thank you.

18                THE COURT:     We've had a long day.       We've had

19     lengthy arguments this morning, so Darlene has been at it

20     more or less full steam ahead for most of the day.            So I

21     think this is a good time.

22                MS. BIERSTEIN:      Let's take a break and I will

23     try to be brief to spare Darlene.

24                THE COURT:     Thank you.

25                        (Whereupon, a recess followed)
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 50 of 81
                                                        Page 50


1                  MS. BIERSTEIN:      Thank you, Your Honor.       It was

2      actually a very good stopping point, because I was just

3      about to turn from the choice of law analysis to looking

4      at the Haitian law experts in terms of what they say the

5      Haitian law.       But before turning to what they actually

6      say, I do want to say something about the methodology used

7      by the experts, because what our expert did and what

8      Father Carrier's experts did I think is quite different.

9                  Father Carrier argued in his reply brief that it

10     was more appropriate for an expert on Haitian law to

11     consider Haitian law in light of what he claims are the

12     undisputed facts rather than in light of the allegations

13     in the complaint.       But I think that that's actually -- I

14     think the opposite is true.         Father Carrier gave his

15     expert a one-sided approach to the facts that is here's

16     what we say the undisputed facts are, and got a legal

17     opinion as to how that expert thought the case would come

18     out on those facts, but I think that was the wrong

19     question.

20                 First of all, as the plaintiffs demonstrated,

21     and this was discussed at length I think in the earlier

22     sessions, but I think some of those issues are in dispute

23     here as well, the facts here are not undisputed.             But I

24     think, second, even if they were, the role of an expert in

25     foreign law is not to assume the role of the Court in
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 51 of 81
                                                      Page 51


1      adjudicating the motion for summary judgment.          It's up to

2      the Court to apply the relevant law to the undisputed

3      facts if they actually are undisputed and decide whether

4      the case can be decided as a matter of law.

5                 The role of the expert in foreign law is to

6      provide the Court with the legal framework that applies to

7      the claims to say, well, for a claim like this, here are

8      the factors under which you can be liable under one law as

9      opposed to another.

10                For this purpose, it's the complaint that

11     provides the relevant information.        What claims are

12     plaintiffs asserting and in what context?         And our expert,

13     Mr. Joseph, informs the Court what Haitian law provides

14     with respect to such claims.      You know, what are the

15     factors under what circumstances would an individual be

16     liable rather than drawing the conclusion to come up with

17     the conclusion of who's liable.

18                And plaintiffs believe that Father Carrier's

19     expert, Mr. Succar, really is usurping the role of the

20     Court by purporting to adjudicate the claim accepting

21     Father Carrier's view of the facts and opining how it

22     would come out under Haitian law rather than simply

23     providing the Court with the information about what the

24     factors are under Haitian law.

25                Now, if we turn to the two views of Haitian law,
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 52 of 81
                                                      Page 52


1      Mr. Succar's view and Mr. Joseph's view, we would see that

2      the views of the two experts are quite different, and

3      under Mr. Joseph's declaration it shows we don't believe

4      that there is the same kind of conflict between

5      Connecticut law and Haitian law that Father Carrier claims

6      to discern, and that's because Father Carrier's expert

7      says that an individual within organization that's

8      incorporated cannot be liable.       But Mr. Joseph reads

9      Haitian law differently and he says that individuals may

10     be liable.

11                And I want to look at some of that language,

12     because Mr. Folkman suggests that our expert's focus is on

13     the criminal law.     Now, Mr. Joseph does discuss the

14     criminal law in Haiti in his declaration, but it's not the

15     primary focus of it and it's not the core opinion that we

16     are relying on.     It is kind of a fallback and another way

17     of looking at coming around to the same point.

18                But if you were to look at paragraphs 14 and 15

19     of Mr. Joseph's declaration, and Mr. Joseph quotes Article

20     1170 of the code to say one is responsible for the damages

21     caused by one's own acts as well as for the damages caused

22     by those who are under one's supervision or direction, and

23     then the language that Mr. Folkman referred to, or by the

24     things that are under one's control.

25                So there's the things, but there's also the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 53 of 81
                                                      Page 53


1      people.   But I think it's the next paragraph that's

2      particularly important because this is where Mr. Joseph

3      explains that the liability of supervisors is broad and

4      dependent on the facts.     A supervisor in an organization,

5      he says, may be liable when the people he or she

6      supervises have caused damage if the supervisor had the

7      ability to prevent such damage.       Individual liability does

8      not depend on the formal title of the supervisor but

9      instead depends on the practical context of the

10     supervisor's activities.      That's a very different view of

11     Haitian law than what Mr. Succar, or maybe not Mr. Succar,

12     but Professor Curran talking about French law, is

13     providing, at least within the context of Haitian law.

14     Mr. Joseph is saying that you can be responsible for

15     conduct of a person under your supervision depending on

16     the particular context and circumstances and your ability

17     to prevent that.

18                Now, I think Mr. Folkman spent a lot of time

19     talking about who employed Perlitz, but I think there's a

20     couple of points here.

21                One, I don't think it's disputed that in

22     whatever capacity and on whoever's behalf Father Carrier

23     was supervising Mr. Perlitz, but I think this question of

24     who employed Mr. Perlitz, which is very much in dispute,

25     has another significance that I think we haven't focused
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 54 of 81
                                                      Page 54


1      on, which is, even under Mr. Folkman's view of Haitian

2      law, this protection that they claim the individual would

3      have arises only if the employer is incorporated.

4                  But it's not clear, you know, we think under the

5      facts of who was actually employing Mr. Perlitz since he

6      was:   A, as we've already discussed, an independent

7      contractor in Haiti funds; and B, he got money directly

8      from Fairfield and, no, it wasn't just Father Carrier

9      being a mailman for the U.S. Postal Service, the money was

10     raised by campus ministry, it came from checks made out to

11     Fairfield Campus Ministry, as we discussed in the previous

12     sessions.    And so clearly some of the money that paid

13     Douglas Perlitz came not only from Father Carrier's hands

14     but came from Fairfield.

15                 But here is one thing that's pretty clear, was

16     that Douglas Perlitz was working for and at PPT.           PT was

17     not an incorporated entity as far as we know, and I think

18     this came up the last time as well.        One of the confusions

19     here is that PPT had no separate legal existence and there

20     were all these organizations kind of swirling around with

21     different functions and arguing the Haiti Fund's function

22     was to raise money to help -- to provide money for PPT and

23     to funnel money through.      And Fairfield University viewed

24     PPT as a program of Fairfield University that it ran and

25     sponsored and provided money to.       And Malta viewed PPT as
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 55 of 81
                                                      Page 55


1      a Malta work as a program founded and supported and

2      sponsored by people from the Order of Malta.          But PPT

3      itself is not an incorporated entity.        So lots of people

4      are providing money to Douglas Perlitz, which doesn't mean

5      that he was an employee of those entities.

6                 And so to the extent that PPT itself is not

7      incorporated, and there's lots of people out there

8      funneling money through entities to pay him, it's not at

9      all clear that this notion that if the employer is

10     incorporated, there's no liability for the supervisor,

11     that is the person who also works for the employer but is

12     doing the supervision, it doesn't apply at all to the

13     extent that the real quote-unquote employer, certainly the

14     only thing in Haiti employing him is PPT, which is not

15     incorporated, and as I say, which is receiving money from

16     lots of different places.

17                So even under Mr. Succar's view, it's not at all

18     clear that Father Carrier is insulated, but certainly

19     under Mr. Joseph's explanation of Haitian law where the

20     supervisor in an entity can still be responsible if he has

21     the ability to -- I'm looking back again -- supervisor in

22     an organization, was the words in the declaration, may be

23     liable when the people he or she supervises have caused

24     damage if the supervisor had the ability to prevent it.

25                So certainly under Mr. Joseph's view, even if
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 56 of 81
                                                      Page 56


1      you look at Father Carrier as a supervisor within an

2      organization and if you view Douglas Perlitz as an

3      employee within an organization which I think, as I said,

4      is very hard to do here, under Mr. Joseph's view there can

5      still be liability under Haitian law.

6                 So we think that plays out two ways:         That

7      there's not a true conflict between Connecticut law and

8      Haitian law; and second, that even if the Court were to

9      apply Haitian law, Father Carrier would not be entitled to

10     summary judgment.

11                I'm going to turn now, unless the Court has

12     questions about that, I'm going to turn to the statutory

13     claims as to which there's no dispute which law applies.

14                On the extraterritorial application question,

15     Mr. Folkman says that our argument is so complex that it

16     couldn't possibly be right, that if it's that complicated

17     to say that there's an intent to apply it

18     extraterritorially, it can't be so.        But I think our

19     argument is actually very simple.

20                Our argument is that Congress specifically

21     indicated the intention to apply 2255, that is the section

22     that creates the civil remedy extraterritorially because

23     Congress selected a very small number of predicate acts

24     for which it provided a civil remedy, and those predicate

25     acts included statutes such as 2423 that by their very
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 57 of 81
                                                        Page 57


1      nature involve international conduct and international

2      trafficking.       And so the selection of such a small number

3      of statutes to say for these the victims have a remedy, we

4      think shows a clear intention to provide a remedy even

5      when the victims are abroad.

6                 The complicated argument is the one that tries

7      to apply this RJR Nabisco case to a totally different

8      statutory structure because RJR Nabisco deals with RICO,

9      which has a completely different structure, and that's

10     when you get into the comparison we made explaining the

11     difference between the two level and the three level.              But

12     that's just a way of saying that what's hard is to take

13     the square case of RJR Nabisco and fit it into a round

14     hole of a totally different statute that is doesn't fit

15     with.   And I can go through a little bit.

16                I think the major distinction we see is that the

17     list of predicate acts in RICO may have included some with

18     an international component, but they were compiled, that

19     list, for totally different purposes.          Congress didn't sit

20     down in RICO with a list of here's what we want the civil

21     remedy to cover, they listed predicate acts that they

22     thought would create racketeering activity then they

23     defined the criminal liability based on the racketeering

24     activity and then as of then said we're going to have

25     civil liability.
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 58 of 81
                                                       Page 58


1                 That's not what 2423 and 2255 look like.           These

2      statutes are much simpler.        So I think the intention for

3      it to apply to all the victims, whether they're within the

4      United States or without, is very clear.

5                 I think another place where you see that

6      intention and really big difference between these statutes

7      and the RICO statute is in the definition of who can sue.

8      The RICO definition was so broad and vague because it was

9      any person injured in his business or property by reason

10     of a violation.

11                So you have all those ripples coming out of the

12     violation and courts have struggled for decades to limit

13     that, to talk about what's the proximate cause and what's

14     RICO proximate cause and how far out do the ripples go.

15                But there aren't any ripples in 2255 because

16     Congress cut off the liability there and said only the

17     direct victim of these violations, so somebody who comes

18     in and says I am secondarily affected, that doesn't apply.

19                So in the context where Congress says here's a

20     small list of statutes and the victims of those statutes

21     can sue, if they had meant to say only some of the

22     victims, only the victims in the U.S., they would have

23     said that.

24                When you create a narrow class of people rather

25     than that broad one, and a very narrow class of statutes
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 59 of 81
                                                      Page 59


1      and the narrow class of statutes all have to do with

2      trafficking and sexual abuse of one kind or another, which

3      are all offenses that Congress has specifically recognized

4      have an international component that we don't have the

5      kind of boundaries and borders that may be used to divide

6      those countries in that way, that people are traveling

7      internationally and trafficking internationally, the

8      statute specifically recognized that and 2255 is

9      specifically targeting statutes like that.

10                So I think it's actually a very simple argument

11     to see that the 2255 remedy does have extraterritorial

12     application.

13                Finally, in terms of the travel details, Father

14     Carrier says we can't show a causal link because we

15     haven't provided the specific dates of travel.

16                In our view, plaintiffs don't need to provide

17     specific dates of travel in order to prove the causal link

18     here, because what we have provided is evidence that

19     Father Carrier facilitated all of Perlitz's travel to

20     Haiti.   There would have been no PPT, there would have

21     been no funds without Father Carrier's facilitation of all

22     of the travel.     And I think the record is replete with

23     evidence that Father Carrier arranged for the funding and

24     paid for Perlitz's activity, including his travel.

25                And I think there's no dispute that he traveled
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 60 of 81
                                                      Page 60


1      from the U.S. to Haiti, that the money for that was

2      facilitated by Father Carrier, and that the abuse in fact

3      could only have happened because Perlitz was in Haiti.

4                 However, having said that, if the Court believes

5      that more specific dates and the kind of matching up of

6      this trip happened here -- I mean, if Perlitz arrived in

7      Haiti in October and abused somebody the following March

8      or the following June, there still a causal connection

9      because that's how he got there.       But if the Court

10     believes there's a more specific need to match up dates of

11     travel, we know that in the government filings in the

12     criminal case there's extensive evidence publicly

13     available on the public docket, we could provide the Court

14     either the documents or the docket numbers, first of all

15     of Perlitz's passport with all the entry and exit stamps

16     from Haiti, and second of all, the chart created by the

17     government showing the various details of the travel.

18                So there is lots of evidence of the specific

19     information of the travel if the Court, contrary to our

20     view, believes that's necessary.       In that circumstance, we

21     would ask for leave to supplement the record with those

22     documents which, as I said, are available on the public

23     docket in any case, in the criminal case.

24                If the Court has no questions, I would just want

25     to add one kind of tagalong point just because something
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 61 of 81
                                                      Page 61


1      that Mr. Folkman said which doesn't fit neatly into this

2      structure of the various arguments I think needs to be

3      addressed.

4                 There was a mention of the fact that documents

5      from the Order of Malta would be inadmissible against

6      Father Carrier because Father Carrier says because they're

7      hearsay as to him.     And I would note that that doesn't

8      mean they're inadmissible, because the documents -- and

9      I'm not necessarily speaking to particular documents,

10     although the record that he referred to I think would

11     definitely fit within this -- to the extent that they're

12     business records of the Order of Malta, then they're going

13     to come in under hearsay exception, and it's not going to

14     be limited to the Order of Malta, it's only to the extent

15     that we're relying on them as being non-hearsay statements

16     of the party that Mr. Folkman could say, well, that

17     wouldn't be admissible as to us.

18                But to the extent that there's any exception to

19     the hearsay rule, including business records, which I

20     think a number of these documents, such as the formal

21     minutes of an Order of Malta meeting would qualify as

22     records kept in the ordinary course, then I think in fact

23     there's a much broader range of evidence that's admissible

24     against Father Carrier than what he has suggested.

25                THE COURT:    Thank you.
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 62 of 81
                                                      Page 62


1                 MR. FOLKMAN:    Your Honor, I'm very cognizant of

2      Mr. Kennedy's time.     So I'm going to try to take perhaps

3      five minutes; is that okay?

4                 With respect to the statutory claim, we're well

5      aware of what's in the record of the criminal case.              I

6      would just say that we believe that none of the passport

7      records or the other records to which Ms. Bierstein

8      referred could be presented in admissible form.          I don't

9      know why it wouldn't have been presented in the briefing,

10     but if you'd like to see that, we'd be happy to brief

11     that.

12                With respect to the bigger issue, the Haitian

13     law issue, Ms. Bierstein said something I thought was

14     remarkable, she said, if only we had known, we might have

15     done something different in the case.        But of course what

16     can't possibly be right about that is because they would

17     have had to do the opposite of what they did.

18                If we're right about Haitian law and her point

19     is if we had known that you would be arguing Haitian law,

20     then we would have said, you weren't the Haiti Fund's

21     agent and Mr. Perlitz was your employee and not the

22     employee of the Fairfield or Haiti Fund entities.           It's

23     the opposite of what their case is.

24                So there's no way that they could have presented

25     their case in a different way that would have preserved
 Case 3:13-cv-01132-RNC   Document 996    Filed 05/19/17 Page 63 of 81
                                                       Page 63


1      the claims against Father Carrier without undercutting

2      basically the whole theme of their case with respect to

3      the other defendants, so I don't think that's really a

4      fair point.

5                 With respect to the issue about where the

6      conduct took place, this is one of the 145 factors that

7      was discussed, I think Ms. Bierstein's approach to this is

8      very artificial.     She says, well, Father Carrier would

9      have had to go back to Connecticut and then adopt policies

10     that would apply to Haiti.        There's no reason that really

11     is true.   If he were in Haiti and he saw there was

12     something amiss, he should have fixed it in Haiti.

13                It's true that the claims against the

14     institutional defendants may depend to some degree about

15     what he did, who he reported to and so forth when he came

16     back to Connecticut, but the question with respect to

17     Father Carrier is, he's there, he sees things going on, he

18     doesn't put any policies into place.         That has nothing --

19     no necessary requirement of travel.

20                So I think that -- I do think that our view of

21     the strength of that factor is correct.

22                The last point I want to raise, Your Honor, is

23     with respect to the certainty or uncertainty of Haitian

24     law, and I would just push back on Ms. Bierstein's example

25     about the lawyer 150 years ago from New York who didn't
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 64 of 81
                                                      Page 64


1      know what Connecticut law was.

2                 It's not that there wasn't much American law or

3      not much Haitian law, is that there aren't very many

4      Haitian law books.     That's the issue.     The Haitian law

5      itself is clear.     But what sources do you cite?       What

6      books do you refer to if you're a Haitian lawyer?           As I

7      think Mr. Succar's declaration makes clear, in part of

8      this you look at French law books.        It doesn't mean the

9      law isn't clear, it just means they don't have their own

10     treatises yet.

11                Thank you.

12                THE COURT:    Thank you.

13                MR. KENNEDY:    Good afternoon, Your Honor.

14                THE COURT:    Good afternoon.

15                MR. KENNEDY:    Jeff Kennedy, I represent Hope

16     Carter, if it may please the Court.

17                Your Honor, the issue to be adjudicated is quite

18     narrow and limited as to Hope Carter.        The issue is

19     whether the plaintiffs have provided this Court with hard

20     evidence as required under the D'Amico case, which is

21     cited in our brief, to overcome the protections afforded

22     Carter under the Volunteer Protection Act and in

23     connection to the General Statutes 52-5570.

24                I submit this is an easy call for Your Honor and

25     that the evidence leads to one conclusion, Carter is
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 65 of 81
                                                      Page 65


1      entitled to judgment as to the four bellwether claims

2      against her contained in Count Three, which is the

3      negligent hiring, supervision and direction, and Count

4      Five, breach of fiduciary duty.

5                 In order to reach this conclusion, the Court

6      need only take judicial notice of the following.

7                 First, the plaintiffs acknowledge that the

8      Volunteer Protection Act provides immunity to volunteers

9      of non-profit organizations under certain circumstances.

10                Secondly, the plaintiffs acknowledge in the Rule

11     56(a)(2) statement that Carter qualifies as a volunteer

12     for purposes of both the Volunteer Protection Act and

13     Connecticut General Statutes 5570.        In other words, the

14     plaintiffs concede that The Haiti Fund was a 501(c)(3)

15     organization and Carter did not receive a salary or any

16     other compensation.     Thus to their credit, the plaintiff

17     concedes Carter was exactly what she was, a volunteer

18                Your Honor, the four bellwether plaintiffs

19     concede they never even spoke to Carter.         They concede the

20     two claims against Carter are grounded in negligence.

21                With those undisputed facts in the backdrop,

22     Your Honor, the plaintiffs' last line of defense to

23     contest Carter's entitlement to summary judgment is to

24     argue the high burden of the exception to the VPA that she

25     acted grossly negligent or reckless.        In other words, that
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 66 of 81
                                                      Page 66


1      Carter, an 81 year old mother of 12 and grandmother of 34,

2      who brought six of her own children and six of her own

3      grandchildren, including a male in the fifth and sixth

4      grade, to PPT and exposed them to Perlitz acted with the

5      commensurate state of mind that the Court could infer that

6      she acted with reckless disregard for the safety of the

7      four bellwether claims.

8                  Alternatively stated, Your Honor, by the Second

9      Circuit in the American Telegraph Decision, which is cited

10     on page 6 of our reply brief, the evidence needs to show

11     conduct by Carter which smacks of intentional wrongdoing.

12                 Now, deciding these threshold issues, such as

13     recklessness, is a job for the Court, Your Honor, and not

14     the jury.    In other words, Your Honor, you are the

15     gatekeeper of the nebulous claims.

16                 In an effort to sustain this high burden, the

17     plaintiffs claim there are two facts that show Carter

18     acted recklessly.

19                 First, while a member of the Haiti Fund Board,

20     she failed to draft, adopt and implement appropriate

21     policies to protect children from possible sexual

22     predators.

23                 Your Honor, Mrs. Carter was a volunteer.         She

24     was one of 30 other members over a ten-year period.              The

25     Court has already held that the Haiti Fund was not a mere
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 67 of 81
                                                      Page 67


1      instrumentality of Carter or any of the other defendants.

2      Thus the plaintiffs want to simply disregard the corporate

3      structure and pierce the corporate veil and hold Carter

4      individually liable.

5                  Now, when we were mere last time, Attorney

6      Bierstein had indicated that that had not been briefed,

7      the issue of the corporate veil.       I would ask Your Honor

8      to take judicial notice of page 23, footnote 6, of our

9      brief, what we did in our original motion for summary

10     judgment where we did bring up the issue of corporate veil

11     piercing.    As to that, Your Honor -- and that's the Naples

12     decision -- and these deserve a little comment, Your

13     Honor.

14                 There was no complete dominance of financing and

15     policies of the Haiti Fund Board by Hope Carter.           Your

16     Honor just need review Exhibit 5, which the plaintiffs

17     rely upon, which is the Haiti Fund Board minutes.

18                 Your Honor has already spoken about them, from

19     July 9, 2003, which state the board engaged in general

20     discussion of objectives of setting policy governing

21     behavior, project employees and volunteer interaction with

22     students.    And that was Phil Lacovara, so Your Honor is

23     aware of that.

24                 Your Honor, the plaintiffs are simply ignoring

25     the corporate structure.      The Haiti Fund crafted and
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 68 of 81
                                                      Page 68


1      implemented their own policies, not Carter.          She's simply

2      one board member, nothing more, nothing less.

3                 Now, the second fact that the plaintiffs rely

4      upon to try to prove the recklessness involves providing

5      interrogatories, responses from two non-bellwether claims.

6      That's Joel Albert on page 8 of the reply brief and Wendy

7      Derice.

8                 Your Honor, these are not in admissible.          All

9      the Court needs to do is to review page 9 of our reply

10     brief, the second amended scheduling order.          These are

11     Haitian residents who are not disclosed to testify at

12     trial.

13                And we've already heard from Attorney Bierstein

14     today about unfairness and about the need to keep the

15     scheduling orders and the plaintiffs were well aware of

16     this because of the fact that one of the other individuals

17     I'll speak about in a moment, Thony Vall, was disclosed

18     and they'd rely on his interrogatory response.

19                And that leads me to the next point, Your Honor.

20                The plaintiffs also appear to claim the fact

21     that Carter allegedly saw a non-bellwether plaintiff, in

22     fact Thony Vall as a former plaintiff who has already

23     settled and is not a party to these cases, in Perlitz's

24     bedroom somehow equates to recklessness.

25                I'd ask the Court to take judicial notice of
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 69 of 81
                                                      Page 69


1      Thony Vall interrogatory number 20.        And what it states,

2      Your Honor, is as to Hope Carter, "I believe Pierre Paul

3      Carrier, Madam Carter, Silvester Tan and Andy knew or

4      should have known Douglas was sexually abusing Pierre Paul

5      Carrier and Madam Carter were frequent visitors to

6      Douglas's Bellair House where boys from Project Pierre

7      Toussaint were often present.       Pierre Paul Carrier and

8      Madam Carter saw me in Douglas' bedroom at Bellair when

9      Douglas was also in the bedroom."

10                That's it as to Hope Carter.       It goes on to make

11     some salacious allegations as to Father Carrier, but

12     that's it.   That's all they have, no context, nothing.

13     This is hardly the hard evidence as mandated by the Second

14     Circuit, Your Honor.     The vagueness speaks for itself.

15     This is all the evidence the plaintiffs have to meet the

16     high burden of recklessness.      To be sure, Your Honor, a

17     genuine issue is made of certain stuff.

18                To claim this equates to the state of mind

19     showing recklessness -- I'm sorry showing reckless

20     disregard to the students and recklessly exposing them to

21     sexual abuse is frankly misguided and wrong.

22                Your Honor, the plaintiffs also allege fiduciary

23     duty as to Carter.     I know Your Honor has heard ad nauseam

24     the discussion of the fiduciary duties.         So I won't spend

25     too much time on it.     But I would like you to note on
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 70 of 81
                                                      Page 70


1      page 125 of the Plaintiffs' objection, they acknowledge

2      the fiduciary duty claim is based on ordinary negligence,

3      thus the VPA and 52557N would apply.

4                 Your Honor, there is no case that I could find

5      that stands for the proposition that a volunteer on a

6      charitable board based in the United States has a

7      fiduciary relationship with beneficiaries in a foreign

8      country.   To be sure this is a chilling, chilling

9      proposition.

10                Your Honor, I also note, I don't mean to

11     regurgitate my brief for you, but as concerns the

12     fiduciary duty and what this Court has previously

13     indicated qualifies, I would like you to note on page 27

14     and 30 of our summary judgment, Judge Arterton's decision

15     in Johnson v. Schmidt, which she indicated that there

16     needs to be a personal and individualized relationship.

17                Your Honor has also heard from my colleagues and

18     plaintiffs about the Bass decision where there was no

19     fiduciary relationship because there was no substantial

20     contact between a minor and one of the defendants,

21     Windsor, in that case, despite the fact, Your Honor, that

22     Windsor was the head of the school with substantial

23     authority over schools and policies and practices.

24                Lastly, Your Honor, the Martinelli decision,

25     which is noted on page 2, page 11 to 13 in our reply
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 71 of 81
                                                        Page 71


1      brief, which Your Honor has heard quite a bit about it,

2      that dealt with an institution, Your Honor, which had a

3      fiduciary relationship with a minor who attended one of

4      its schools and went to a church within its diocesan.

5                 Carter is an individual, Your Honor, so

6      comparing and contrasting these cases to what is in front

7      of Your Honor, Carter never spoke to the plaintiffs.

8      What's the evidence here, Your Honor?          Carter said

9      bonjour, Carter gave them soccer balls and candy, Carter

10     played games with them.       To state --

11                THE COURT:      You're referring to the plaintiffs

12     generally, not the four bellwether --

13                MR. KENNEDY:      This is evidence and it's in their

14     brief, Your Honor.       This is an example of the evidence

15     provided by the four bellwethers as to their relationship

16     with Carter.

17                She said bonjour, she gave us a soccer ball, she

18     played games with us.

19                This deserves little comment, Your Honor.

20                Moreover, Your Honor, this was a broader -- and

21     this was spoken to quite eloquently by Attorney

22     Goldberg -- there's a broader societal issue before the

23     Court today and that's the chilling effect of these type

24     of lawsuits.       In our case, it's for volunteers who give

25     their support for helping those most in need.            The
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 72 of 81
                                                      Page 72


1      implication of the Court's decision on this issue cannot

2      be overstated.

3                 And lastly, Your Honor, and this does not appear

4      in our brief, but the Court should be aware, and it was

5      after the briefing schedule was finished, the deposition

6      of the plaintiffs' liability expert, Edward Dragan who was

7      an educational expert, was taken, and he is apparently an

8      expert on educational practices and supervision, and he

9      indicated he has no opinion as to the individual liability

10     as to Hope Carter, Your Honor, and that you would need

11     expert testimony on that issue.

12                Thank you very much.

13                THE COURT:    Thank you.

14                MS. BIERSTEIN:     In speaking about Mrs. Carter,

15     it's interesting that nowhere in Mr. Kennedy's

16     presentation or in their reply brief do you ever hear the

17     words "The Order of Malta."       And Carter assumes the only

18     possible basis on which she could be liable is her role at

19     the Haiti Fund and sitting, as Mr. Kennedy referred to, on

20     the board of the Haiti Fund.       But that's not the only

21     place that her liability derives from.        It derives as

22     much, if not more, from her role as one of the

23     representatives of Malta, the entity that had sent Perlitz

24     to Haiti and supported and approved his move from Milieux

25     in order to found PPT, provided funding for PPT and made
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 73 of 81
                                                      Page 73


1      it an official work of the American Association.

2                 Even more than her connection to Malta though,

3      it's Carter's frequent trips to Haiti, her frequent trips

4      to PPT, that are really the source of our claim that she

5      can be liable here.     She's not just a board member of the

6      Haiti Fund and not just the area co-chair at various

7      points of the Connecticut arm of Malta.         She was the

8      person who was actually there in Haiti, the only person

9      for those entities other than Father Carrier, who were the

10     eyes and ears to check up on where this money was going

11     and what was actually happening down there with the

12     project.

13                Now, I think we, the plaintiffs and Mrs. Carter

14     agree, I think that if she was only ordinarily negligent,

15     we do agree that at that point the Volunteer Protection

16     Statute would apply, but we think that the evidence here

17     is sufficient for a jury to consider whether she was

18     grossly negligent or reckless, not only ordinarily

19     negligent.

20                I want to say a couple points about that.

21                First of all, the fact that we argued in our

22     brief that the fiduciary duty claim in general relies on

23     the unordinary negligence doesn't mean that Mrs. Carter is

24     entitled to summary judgment on that claim.          Because to

25     the extent -- our legal burden for that claim as applies
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 74 of 81
                                                      Page 74


1      to all defendants may be ordinary negligence, but to the

2      extent the evidence with respect to her shows that she was

3      grocery negligent or reckless, then we are outside -- that

4      she's outside the scope of any immunity that she might

5      otherwise claim.

6                 And I think for, you know, in the same context,

7      because we're talking about her gross negligence, her

8      recklessness, what she saw in Haiti that went beyond --

9      well, an ordinary person should have noticed something was

10     wrong but really rose to a much higher level, there isn't

11     a corporate veil issue here.      We're not trying to, you

12     know, pierce through someone else's liability and, you

13     know, hold someone vicariously liable for something an

14     entity did.    This is not a corporate veil issue.

15                This is simply she is the person who was there.

16     We are seeking to hold her responsible for her own

17     conduct, her own gross negligence and recklessness, and

18     her own responsibility, because she was the person charged

19     by these entities.     And I think this is set forth in more

20     detail in our brief with being the person on the ground to

21     see what was happening there.

22                In terms of her gross negligence or

23     recklessness, Mr. Kennedy doesn't say, but perhaps

24     implies, that if the statements of the other plaintiffs

25     are admissible, that there clearly would be a disputed
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 75 of 81
                                                      Page 75


1      issue of fact as to her gross negligence or recklessness.

2      And I think if the Court takes a look at the statements

3      which are quoted in our brief, but also provided as

4      exhibits, I think it's pretty clear given what these

5      plaintiffs have to say, that given the things that she saw

6      there that she -- I think that would be sufficient for a

7      jury to have to adjudicate that issue.

8                 Mr. Kennedy says that those interrogatory

9      answers are not admissible because those plaintiffs were

10     not identified as witnesses outside the United States.            I

11     think that's really a wrong and really misconstruction of

12     the Court's order here.     The evidence that we are

13     discussing was specifically identified and provided to the

14     defendants because those were interrogatory answers.             We

15     had given those to the defendants months ago.          They had

16     that information.     And the whole point of the scheduling

17     order was to prevent an unfair surprise.         If you were

18     going to call someone that we don't know what they might

19     say, we want to have a chance to take their deposition.

20                Now, Thony Vall was a plaintiff from the first

21     round, but we had interrogatory answers from plaintiffs

22     who were this round plaintiffs but not selected to be

23     bellwether plaintiffs.

24                Now, of course at the time of this deadline,

25     nobody knew who the bellwethers were going to be, but the
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 76 of 81
                                                      Page 76


1      defendants were in possession of all of the interrogatory

2      answers.   The defendants had the opportunity to select

3      which plaintiffs would have their depositions taken.             That

4      was completely up to them.

5                 The bellwether process was a collaborative -- we

6      picked some, they picked some -- but the depositions were

7      up to them.    They had their interrogatory answers, they

8      chose not to depose the plaintiffs who provided this

9      information even though it showed great recklessness on

10     Mrs. Carter's behalf.

11                So I don't think the idea that we were supposed

12     to identify witnesses outside the U.S. by a certain date

13     has anything to do with the use of these plaintiff

14     interrogatories.     And so for that reason, I think they are

15     completely admissible here.

16                I would also add on this point Mrs. Carter's

17     somewhat in tension with Father Carrier's position,

18     because if none of these -- in the case of the Haitian law

19     expert that's not one of the plaintiffs, it's not a

20     statement we already had, it's not information we already

21     knew.   The rule that would have barred that is far more

22     clearly applicable to Mr. Succar than it could possibly be

23     to the plaintiffs here.

24                So if the Court were to say that somehow this

25     rule did apply to plaintiffs in this round, it would also
 Case 3:13-cv-01132-RNC     Document 996   Filed 05/19/17 Page 77 of 81
                                                        Page 77


1      have to throw out the affidavits that Father Carrier

2      submitted on Haitian law.

3                  But as I said, I think the clearer reading of

4      this is that it was never intended to apply for plaintiffs

5      for whom the defendants already had the interrogatory

6      answers because they already had their statements.             It's

7      not as if we put in some affidavit with additional

8      information.       What we submitted to Your Honor is the

9      interrogatory answers that the defendants have had for

10     months.    So I don't think there should be a question of

11     admissibility with respect to that.

12                 On the last point, I just want to note in terms

13     of the fiduciary relationship.

14                 Mrs. Carter was frequently at PPT, she was

15     well-known to the plaintiffs.         The Order of Malta -- and

16     this was evidence we went over last time -- talked about

17     the fact that the official works of the Order of Malta

18     involved not just money, but hands-on involvement of Malta

19     members.

20                 The fact that they didn't share a common

21     language and couldn't speak to each other I don't think

22     changes the situation that when you take the role that she

23     took in founding this entity -- and we talked about that

24     last time, I don't want to go back through that -- and in

25     being the one on the ground to see how it's going, when
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 78 of 81
                                                      Page 78


1      you're dealing with vulnerable minors in the extremely

2      vulnerable position that they're in, I don't think it's a

3      stretch to suggest that a fiduciary duty arises.           And I

4      don't think again that it's chilling of behavior that we

5      want to encourage to say that if you're the one on the

6      ground making the inspections, coming to see how it's

7      going, coming to see where the money is going, when you

8      see the kind of behavior that the plaintiffs in their

9      interrogatory answers and in the information that we've

10     submitted, when you see that kind of behavior, if you

11     don't do anything about it, you're going to be

12     responsible.

13                 I don't think that chills anyone who just sits

14     on a board, or anyone who takes a more active role.

15     Because again, what we're talking about is gross

16     negligence or recklessness.       Ordinary negligence would be

17     a different matter.

18                 But given what she is alleged to have seen and

19     disregarded, not alleged, I shouldn't say, because there's

20     evidence.    What the evidence shows she saw and somehow

21     disregarded, I don't think we have to worry about what

22     else that's chilling.

23                 The last point I want to make is what we heard

24     in Mrs. Carter's opening papers and the reply papers and

25     from her lawyer just now about how she brought her
 Case 3:13-cv-01132-RNC   Document 996   Filed 05/19/17 Page 79 of 81
                                                      Page 79


1      children and her grandchildren down, as if that somehow

2      insulates her from liability.       But I would say two things

3      about that.

4                 We hear she's a woman in her 80's.         She wasn't

5      that elderly 20 years ago when she was doing this.           She's

6      in her 80's now.     She was in her 60's in 1998.       It is

7      nearly 20 years ago when all of this began.

8                 But more to the point, when she brought her

9      children and grandchildren there, she didn't send them

10     there to live, she didn't sort of leave them there and

11     say, you know, fine, you're under Perlitz's supervision,

12     see you in six months.     And we're not alleging that she

13     actually knew, we're alleging that she was grossly

14     negligent and that she was reckless in this.

15                And the fact that she was grossly negligent and

16     reckless in terms of ignoring signs around her, the fact

17     that she had her children and grandchildren there while

18     she was there doesn't mean she wasn't being grossly

19     negligent or reckless in what she saw.

20                And as I said, she didn't go so far as to leave

21     them there unsupervised.      So, you know, to the extent, you

22     know, that you would want to argue, well, she didn't do

23     anything for the plaintiffs that she didn't do for her

24     grandchildren, that's not true.

25                So I don't think that what I think of as the
 Case 3:13-cv-01132-RNC    Document 996   Filed 05/19/17 Page 80 of 81
                                                       Page 80


1      grandmother defense, I don't think really has anything to

2      do with her liability.

3                 MR. KENNEDY:     Your Honor, I will take a minute,

4      and when I say a minute, I mean a minute.

5                 Your Honor, just for the record, in reviewing

6      the Rule 56(a)(2) statement and their response, it's

7      conceded and admitted that Carter -- that Malta is a

8      501(c) and that she never received any compensation or

9      salary from Malta.      That's the first part.

10                The second point is the scheduling order speaks

11     for itself.    You can review it at your leisure.         You know

12     what it says.      These are very talented lawyers.       They know

13     the deadlines and they know what it says.

14                And that's all I have.

15                THE COURT:     Thank you.

16                Thank you all.      Thanks for coming in today.

17                        (Proceedings adjourned at 4:27 p.m.)

18

19

20

21

22

23

24

25
 Case 3:13-cv-01132-RNC    Document 996   Filed 05/19/17 Page 81 of 81
                                                       Page 81


1                             C E R T I F I C A T E

2

3                         In Re: ST. LOUIS vs. PERLITZ

4

5

6                 I, Darlene A. Warner, RDR-CRR, Official Court

7      Reporter for the United States District Court for the

8      District of Connecticut, do hereby certify that the

9      foregoing pages are a true and accurate transcription of

10     my shorthand notes taken in the aforementioned matter to

11     the best of my skill and ability.

12

13

14

15
                          /s/__________________________
16
                           DARLENE A. WARNER, RDR-CRR
17                           Official Court Reporter
                           450 Main Street, Room #223
18                         Hartford, Connecticut 06103
                                 (860) 547-0580
19

20

21

22

23

24

25
